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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                  4:09CR3119
                                          )
          V.                              )
                                          )       MEMORANDUM AND ORDER
CARLOS CARPIO,                            )
                                          )
                 Defendants.              )

    Following a hearing on defendant Carpio’s request for new counsel,

    IT IS ORDERED:

    1)    The motion to withdraw filed by Franklin E. Miner, (filing no. 75), is granted.
          The Clerk is directed to remove Mr. Miner from all future ECF notifications
          in this case.

    2)    In accordance with the Criminal Justice Act Plan for this district, CJA Panel
          attorney Gregory Dammen is appointed to represent defendant Carpio.

    3)    Mr. Dammen, who has already entered his appearance as counsel for defendant
          Carpio, shall promptly provide a copy of this order to defendant Carpio.

    DATED this 19th day of March, 2010.

                                         BY THE COURT:

                                         S/ Cheryl R. Zwart
                                         United States Magistrate Judge
